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			HomeSam Harry2015-11-02T16:00:59+00:00						
				


	
	
	
		
		
		

		
		 
		

		
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		The Clerk's office will be closed on 
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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
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				6/28/17 – Comments Sought on Interim Rules for New Judicial Qualifications Commission
						
				
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